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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NEXUS SERVICES, INC., et al.,

      Plaintiffs,
                                                 Case No. 1:17-cv-02215-ABJ
 v.

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,

      Defendants.


 CONSUMER FINANCIAL
 PROTECTION BUREAU,                              Case No. 1:17-cv-02238-ABJ

      Petitioner                                      Consolidated Cases

 v.

 NEXUS SERVICES, INC., et al.,

      Respondents.


                      STIPULATION AND [PROPOSED] ORDER

         IT IS HEREBY STIPULATED by and between the parties, through their

respective counsel, that:

      1. The Bureau of Consumer Financial Protection’s petition to enforce civil

         investigative demand (CID) (ECF No. 1 in Case No. 2238) shall be granted as to

         the CID as modified on October 11, 2018 and December 4, 2018 (Modified CID);

      2. Respondents Nexus Services, Inc. and Libre by Services, Inc. will comply with the

         Modified CID;

      3. Plaintiffs Nexus Services, Inc.’s and Libre by Nexus, Inc.’s claims against the

         Bureau of Consumer Financial Protection (ECF No. 1 in Case No. 2215) shall be
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      dismissed with prejudice. The dismissal has claim-preclusive but not issue-

      preclusive effect. The parties agree that Nexus may assert any of the issues

      contained in its complaint in any future action on other claims; and

   4. The Court shall retain jurisdiction to enforce the terms of the Modified CID and

      adjudicate any disputes related to the Modified CID.

   IT IS SO STIPULATED.

Dated: December 4, 2018

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                                 John R. Coleman
                                       Deputy General Counsel
                                 Steven Y. Bressler
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                                 /s/ David A. King Jr.
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                               [PROPOSED] ORDER

IT IS ORDERED THAT:

  1. The Consumer Financial Protection Bureau’s petition to enforce civil

     investigative demand (CID) (ECF No. 1 in Case No. 2238) is granted as to the CID

     as modified on October 11, 2018 and December 4, 2018 (Modified CID);

  2. Respondents Nexus Services, Inc. and Libre by Services, Inc. are directed to

     comply with the Modified CID;

  3. Plaintiffs Nexus Services, Inc.’s and Libre by Nexus, Inc.’s claims against the

     Consumer Financial Protection Bureau (ECF No. 1 in Case No. 2215) are

     dismissed with prejudice; and

  4. The Court retains jurisdiction to enforce the terms of the Modified CID and

     adjudicate any disputes related to the Modified CID.



  DATED: _____________                  ________________________
                                        HON. AMY BERMAN JACKSON
                                        United States District Court Judge




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